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               IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: WILLIAM & DORIS ETHERIDGE                            CASE NO: 19-11305
        DEBTORS                                             CHAPTER 13


              APPLICATION FOR EMPLOYMENT OF ATTORNEY


      COMES NOW, William L. Fava, Attorney for the Chapter 7 Trustee for the

Estate of the above named Debtors and files this application for the appointment

of Daniel V. Parish with the law firm of Wolff Ardis, P.C., Jaime D. Jackson with

the law firm of Atlee Hall, LLP, and J. Kizer Jones, attorney at law, as attorney for

the Trustee, and in support thereof states as follows:

      1.     That in order to facilitate his duties as Trustee, it is necessary for the

Trustee to employ counsel for the pursuit of claims against World Marketing of

America, Inc., a/k/a Kozy-World related to the wrongful death of Doris Jean

Etheridge.

      2.     Any recovery shall be paid directly to the Trustee for disbursement as

approved by this Court upon proper application.

      3.     The attorneys listed herein are fully competent to advise the Trustee

on all matters which are now anticipated to arise in the functioning of this

proceeding and protect and preserve all rights of the Trustee and the debtors’

estate.

      4.     That the attorneys represent no interest adverse to the estate, and

their employment would be in the best interest of this estate. To the best of their

knowledge, they have no connections with the Debtors, Creditors, or any other
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Parties-in-Interest, their respective attorneys and accountants, the United States

Trustee or any person employed in the Office of the United States Trustee, except

that they were previously retained by debtor William Scott Etheridge related to

these claims.

      5.    The attorneys will accept only such compensation as this Court

deems just and fair upon application being made with this Court.

      WHEREFORE, the undersigned requests that he be authorized to employ

and appoint Daniel V. Parish with the law firm of Wolff Ardis, P.C., Jaime D.

Jackson with the law firm of Atlee Hall, LLP, and J. Kizer Jones, attorney at law,

as attorneys for the Trustee with compensation to be fixed by the Court, after

proper application therefor.

      RESPECTFULLY submitted, this the 30th day of August, 2019.

                                       ___/s/William L. Fava        _____
                                       WILLIAM L. FAVA (MSB# 101348)
                                       Chapter 7 Trustee and Attorney at Law

P.O. Box 783
Southaven, MS 38671
(662) 536-1116
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                         CERTIFICATE OF SERVICE

      I, William L. Fava, Chapter 7 Trustee, do hereby certify that I have this

day mailed a true and correct copy of the above Application to Employ to the

following:

      U.S. Trustee
      Via ECF at USTPRegion05.AB.ECF@usdoj.gov

      All Parties on Matrix

DATED: August 30, 2019



                                            ___/s/William L. Fava _____
                                            WILLIAM L. FAVA
                                            Chapter 7 Trustee

P.O. Box 783
Southaven, MS 38671
(662) 536-1116
